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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                             SPARTANBURG DIVISION

ANDREA MCSWAIN, AS PERSONAL                  )      C.A. NO. 7:16-CV-00310-MGL
REPRESENTATIVE OF THE ESTATE                 )
OF CHARLES BURNETTE, AND FOR                 )
THE BENEFIT OF THE STATUTORY                 )
BENEFICIARY CLAIMANT: ANDREA                 )
MCSWAIN,                                     )
                                             )
                      PLAINTIFF,             )
                                             )
              vs.                            )
                                             )           STIPULATION OF DISMISSAL
MAGNOLIA PLACE OF                            )              WITHOUT PREJUDICE
SPARTANBURG AND THI OF SOUTH                 )
CAROLINA AT MAGNOLIA PLACE                   )
AT SPARTANBURG, LLC,                         )
                                             )
                      DEFENDANTS.            )
                                             )

       The Plaintiff, Andrea McSwain, as Personal Representative of the Estate of Charles

Burnette, and for the Benefit of the Statutory Beneficiary Claimant: Andrea McSwain, and the

Defendant THI of South Carolina at Magnolia Place at Spartanburg, LLC, having agreed to end

the above captioned matter without prejudice,

       IT IS STIPULATED, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, by James Segura, Esquire, attorney for the Plaintiff and by the D. Jay Davis, Jr., and

Perry M. Buckner, IV, attorneys for the Defendant THI of South Carolina at Magnolia Place at

Spartanburg, LLC, that the above captioned matter be ended without prejudice as to this

defendant.




                    [SIGNATURE BLOCKS ON FOLLOWING PAGE]
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WE STIPULATE AND CONSENT:                      WE STIPULATE AND CONSENT:


JAMES W. SEGURA, EQUIRE                        YOUNG CLEMENT RIVERS, LLP


By: s/ James W. Segura                         By: s/ D. Jay Davis, Jr.
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                                               Attorneys for the Defendant THI of South
                                               Carolina at Magnolia Place of Greenville




                                           2
